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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 MARK MEADOWS,

                               Plaintiff,

               v.                                                No. 1:21-cv-03217 (CJN)

 NANCY PELOSI, et al.,

                               Defendants.


            SUPPLEMENTAL BRIEF OF CONGRESSIONAL DEFENDANTS

       Pursuant to this Court’s June 23, 2022 Minute Order, Defendants the Honorable Nancy

Pelosi, the Honorable Bennie G. Thompson, the Honorable Elizabeth L. Cheney, the Honorable

Adam B. Schiff, the Honorable Jamin B. Raskin, the Honorable Susan E. Lofgren, the Honorable

Elaine G. Luria, the Honorable Peter R. Aguilar, the Honorable Stephanie Murphy, the

Honorable Adam D. Kinzinger, and the United States House Select Committee to Investigate the

January 6th Attack on the United States Capitol (“Select Committee”) (collectively

“Congressional Defendants”) submit this supplemental brief addressing the three specific

questions posed by the Court related to Speech or Debate immunity.

       To best assist the Court, we will address the Court’s questions in the following order:

(1) whether and to what extent it is possible to waive Speech or Debate Clause immunity; (2)

whether and to what extent Congressional Defendants affirmatively waive any Speech or Debate

Clause immunity as to any of Meadows’s claims; and (3) whether Speech or Debate Clause

immunity is applicable to all of Meadows’s claims.

                         Overview Of The Speech Or Debate Clause

       The Speech or Debate Clause, U.S. Const., Art. I, § 6, cl. 1, is firmly rooted in English
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political history; specifically, the conflict between Parliament and the Crown. See Powell v.

McCormack, 395 U.S. 486, 502 (1969). Because of its importance to the democratic system the

Framers established, they enshrined Speech or Debate Clause immunity directly in the text of the

Constitution. This immunity performs two related functions: First, it protects the “independence

and integrity of the legislature,” and, second, it “serves the additional function of reinforcing the

separation of powers so deliberately established by the Founders.” United States v. Johnson, 383

U.S. 169, 178 (1966).1

       When affirmatively invoked and applicable, the Clause protects Members “not only from

the consequences of litigation’s results but also from the burden of defending themselves.”

Dombrowski v. Eastland, 387 U.S. 82, 85 (1967). The immunity afforded by proper invocation

of the Clause is absolute and cannot be defeated by an allegation of an improper purpose or

motivation. See, e.g., Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 509-10 (1975); Tenney

v. Brandhove, 341 U.S. 367, 377 (1951); Rangel v. Boehner, 785 F.3d 19, 24 (D.C. Cir. 2015)

(“Such is the nature of absolute immunity, which is—in a word—absolute.”).

       The Clause affords not only substantive immunity, but also a complementary evidentiary

privilege. See United States v. Helstoski, 442 U.S. 477, 494 (1979). In other words, the Clause

provides both immunity from liability (in civil as well as criminal proceedings) and a testimonial

privilege. See, e.g., Eastland, 421 U.S. at 501 (civil context); Doe v. McMillan, 412 U.S. 306,

312-13 (1973) (civil context); Gravel v. United States, 408 U.S. 606, 623 n.14 (1972) (criminal


       1
          Accord United States v. Helstoski, 442 U.S. 477, 491 (1979) (“[The] purpose [of the
Clause] was to preserve the constitutional structure of separate, coequal, and independent
branches of government.”); United States v. Myers, 635 F.2d 932, 935-36 (2d Cir. 1980) (“Like
the Speech or Debate Clause, the doctrine of separation of powers serves as a vital check upon
the Executive and Judicial Branches to respect the independence of the Legislative Branch, not
merely for the benefit of the Members of Congress, but, more importantly, for the right of the
people to be fully and fearlessly represented by their elected Senators and Congressmen.”).

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context: Clause, where applicable, is “absolute”). Additionally, the D.C. Circuit has held that

the Clause provides an absolute privilege from compelled disclosure. See United States v.

Rayburn House Off. Bldg., Room No. 2113, 497 F.3d 654, 660 (D.C. Cir. 2007) (“The bar on

compelled disclosure is absolute, and there is no reason to believe that the bar does not apply in

the criminal … context.” (citation omitted)).

       The protections of the Speech or Debate Clause apply to all activities “within the

‘legislative sphere,’” McMillan, 412 U.S. at 312 (quoting Gravel, 408 U.S. at 624-25), which

courts have broadly construed to include much more than words spoken in debate. The “cases

have plainly not taken a literalistic approach in applying the privilege … Committee reports,

resolutions, and the act of voting are equally covered.” Gravel, 408 U.S. at 617.

       Of particular relevance here, Congressional committee oversight and investigative

functions, including the collection of information in furtherance of legislative responsibilities,

are activities within the legislative sphere. This is because a “‘legislative body cannot legislate

wisely or effectively in the absence of information respecting the conditions which the

legislation is intended to affect or change.’” Eastland, 421 U.S. at 504 (quoting McGrain v.

Daugherty, 273 U.S. 135, 175 (1927)); see also McMillan, 412 U.S. at 313. Accordingly, these

activities are fully protected by Speech or Debate Clause immunity.2


       2
          See, e.g., McSurely v. McClellan, 553 F.2d 1277, 1287 (D.C. Cir. 1976) (en banc)
(“[A]cquisition of knowledge through informal sources is a necessary concomitant of legislative
conduct and thus should be within the ambit of the [Speech or Debate] privilege so that
congressmen are able to discharge their constitutional duties properly.” (internal quotation marks
and citation omitted)); Miller v. Transam. Press, Inc., 709 F.2d 524, 530 (9th Cir. 1983)
(“Obtaining information pertinent to potential legislation or investigation is one of the ‘things
generally done in a session of the House,’ concerning matters within the ‘legitimate legislative
sphere.’” (citations omitted)); Tavoulareas v. Piro, 527 F. Supp. 676, 680 (D.D.C. 1981)
(“[A]cquisition of information by congressional staff, whether formally or informally, is an
activity within the protective ambit of the [S]peech or [D]ebate [C]lause.”).

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       The protections of the Speech or Debate Clause may be asserted not only by a current

Member, but also by former Members in an action implicating legislative conduct while serving

in Congress, see United States v. Brewster, 408 U.S. 501 (1972), as well as by a Member’s

“aides insofar as the conduct of the latter would be a protected legislative act if performed by the

Member himself.” Gravel, 408 U.S. at 618. The immunity applies regardless of whether the

Member or aide is a party to the litigation or has merely been called to testify or give a

deposition. See, e.g., Miller v. Transam. Press, Inc., 709 F.2d 524, 529 (9th Cir. 1983).

I.     Speech Or Debate Clause Immunity Cannot Be, And Has Not Been, Waived

       The position of the House of Representatives and of the Congressional Defendants is that

the absolute immunity provided for by the Speech or Debate Clause cannot be waived. But even

if Speech or Debate immunity could be waived, any waiver would have to be explicit and

unequivocal. No such wavier has been made in this case.

       No court has held that the protections of the Speech or Debate Clause can be waived. In

1979, the Supreme Court in United States v. Helstoski expressly stated that it had no reason to

decide that question. See 442 U.S. at 490 (“we perceive no reason to decide whether an

individual Member may waive the Speech or Debate Clause’s protection against being

prosecuted for a legislative act.”). The Court then assumed that waiver was possible, but ruled

that the necessary conditions for such a waiver had not been satisfied in the case before it. See

id. at 491. In that case, Representative Helstoski had testified before a federal grand jury on ten

separate occasions and was ultimately indicted for accepting bribes from immigrants in exchange

for introducing private bills suspending application of the immigration laws to them, thereby

allowing those paying the bribes to remain in the country. See id. at 479. The Department of

Justice argued that Representative Helstoski’s extensive grand jury testimony constituted a

waiver of his Speech or Debate immunity. See id. at 490. The Court rejected the Department’s
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argument, noting that, even if such a waiver were possible, it could “be found only after explicit

and unequivocal renunciation of the protection.” Id. at 491. As the Court explained, “[t]he

ordinary rules for determining the appropriate standard of waiver do not apply in this setting”

because the Clause “was designed neither to assure fair trials nor to avoid coercion.” Id.

        The Department of Justice also argued in Helstoski that Congress as an institution had

waived Speech or Debate immunity by enacting the federal bribery statute, 18 U.S.C. § 201. See

id. at 492. The Court expressly declined to resolve that “important question,” seeing no reason

to “undertake … consideration of the Clause in terms of separating the Members’ rights from the

rights of the body.” Id. at 493. The Court reiterated that any showing of waiver would need to

be by “explicit and unequivocal expression,” which had not occurred in that case in either the

text or legislative history of the statute at issue. Id.

        Here, as in Helstoski, there has been no “explicit and unequivocal renunciation of the

protection” by any of the Congressional Defendants. Thus, even if waiver were possible, there

can be no finding that Speech or Debate Clause immunity has been waived here.

II.     Speech Or Debate Clause Immunity Is Not Self-Executing And Has Not Been
        Asserted By The Congressional Defendants As To Any Of Meadows’s Claims

        1. While the Speech or Debate Clause affords both an institutional and an individual

privilege, see In re Grand Jury Investigation, 587 F.2d 589, 594-95 (3d Cir. 1978); see also

Helstoski, 442 U.S. at 492-93, it is not self-executing. The Clause’s immunity is only appliable

when affirmatively invoked by a Member, Congressional Officer, or Congressional entity, such

as a House Committee or Subcommittee. In other words, a Member or Congressional entity

must actually assert or otherwise invoke Speech or Debate immunity for it to be effective. Here,

because the Clause has not been asserted against any of Meadows’s claims, this Court cannot

consider the privilege.


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       This position is consistent with both the case law applying the Speech or Debate Clause

as well as the operative law regarding other similar privileges and immunities, which are also

generally not self-executing. With respect to the Speech or Debate Clause itself, a review of the

case law indicates that, when it has been applied by the courts, the Clause’s protections were

affirmatively invoked. See, e.g., Johnson, 383 U.S. at 171 (appeal of conviction by

Congressman Johnson on the ground of Speech or Debate Clause immunity); Brewster, 408 U.S.

at 503 (Senator Brewster “moved to dismiss the indictment on the ground of immunity under the

Speech or Debate Clause.”); Gravel, 408 U.S. at 608-09 (motion to quash subpoenas by Senator

Gravel because “requiring these witnesses to appear and testify would violate his privilege under

the Speech or Debate Clause ….”); Helstoski, 442 U.S. at 482-83 (assertion of Speech or Debate

privilege during Congressman Helstoski’s ninth grand jury appearance).3 We are not aware of

any case where Speech or Debate immunity has been applied sua sponte by a court absent

assertion by the holder of the privilege.

       Other constitutionally based privileges, such as the Fifth Amendment’s privilege against

self-incrimination, are generally not self-executing.4 It is well-established that “to claim the

protections of the Fifth Amendment, an individual must actually invoke the right not to make

statements, or his answers will not qualify as ‘compelled within the meaning of the


       3
          See also, e.g., Rangel v. Boehner, 20 F. Supp. 3d 148, 157-59 (D.D.C. 2013)
(“Defendants assert five grounds for dismissal … (3) defendants are absolutely immune from
suit under the Speech or Debate Clause ….”); McCarthy v. Pelosi, 480 F. Supp. 3d 28, 31-32
(D.D.C. 2020) (“Defendants argue that the Court should not reach the merits … for three primary
reasons. … Third, Defendants argue that the Speech or Debate Clause bars the suit.”).
       4
          The Supreme Court has identified only three circumstances where the Fifth
Amendment privilege is self-executing: (1) custodial settings, unless there has been a knowing
and intelligent waiver, see Miranda v. Arizona, 384 U.S. 436, 467-69 (1966); (2) extremely
limited tax-return-filing circumstances, see Marchetti v. United States, 390 U.S. 39, 48-49
(1968); and (3) where the government imposes a penalty if the privilege is invoked, see Garrity
v. New Jersey, 385 U.S. 493, 500 (1967).

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Amendment.’” McKathan v. United States, 969 F.3d 1213, 1224 (11th Cir. 2020) (quoting

Minnesota v. Murphy, 465 U.S. 420, 427 (1984) (citation omitted)); see also Charles E. Moylan.

Jr. & John Sonsteng, The Privilege Against Compelled Self-Incrimination, 16 Wm. Mitchell L.

Rev. 249, 264 (1990) (“The privilege against compelled self-incrimination is not self-executing

… If the witness wishes the benefit of the privilege … it is the responsibility of the witness to

invoke the privilege.”).5

       Finally, common-law testimonial privileges generally require the holder of the privilege

to take some affirmative action to “exercise” the privilege. See, e.g., Commonwealth v. Oliveira,

438 Mass. 325, 331 (2002) (psychotherapist-patient privilege); Zummer v. Sallet, 2021 WL

6496828, at *4–5 (E.D. La. 2021) (“Although an attorney’s word may be “taken on its face,”

a privilege claim is not self-executing.”) (internal citation omitted).6

       2. Members and Congressional entities can, and often do, elect not to assert their Speech

or Debate immunity—even where it would arguably be applicable. For example, Members,




       5
          Numerous cases cite some variation of the statement that the Fifth Amendment
privilege “is not a self-executing mechanism; it can be affirmatively waived, or lost by not
asserting it in a timely fashion.” See, e.g., United States ex rel. Chepurko v. E-Biofuels, LLC.,
No. 14-CV-00377, 2020 WL 1042624, at *3 (S.D. Ind. Mar. 3, 2020); Adams v. Cananagh
Cmtys Corp., No. 82-C-7332, 1988 WL 64097, at *1 (N.D. Ill. June 13, 1988) (citing Maness v.
Meyers, 419 U.S. 449, 466 (1975)); United Auto. Ins. Co. v. Veluchamy, 747 F. Supp. 2d 1021,
1026 (N.D. Ill. 2010) (citing Roberts v. United States, 445 U.S. 552, 559 (1980)); Davis v.
Fendler, 650 F.2d 1154, 1160 (9th Cir. 1981) (citing Maness); S.E.C. v. Kiselak Cap. Grp., LLC,
No. 09-CV-256, 2011 WL 4398443, at *5 (N.D. Tex. Sept. 20, 2011) (citing Davis); U.S.
Commodity Futures Trading Comm’n v. Am. Bullion Exch. Abex Corp., No. 10-1876, 2014 WL
12601560, at *1 (C.D. Cal. Jan. 3, 2014) (citing Davis).
       6
          We note that it is possible for Congress and State Legislatures to create automatic or
self-executing testimonial privileges that do not require any action by the privilege holder to be
effective. See Oliveira, 438 Mass. at 331 n.7 (providing one such example enacted by the
Massachusetts State Legislature). Nothing in the text or history of the Speech or Debate Clause,
nor any subsequent Congressional enactment, suggests that the immunity afforded by the Clause
is self-executing.

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House Officers, and Congressional committees have voluntarily produced legislative documents

in response to litigation requests and occasionally have agreed to testify—or allow staff to

testify—regarding legislative acts in criminal and civil judicial proceedings. In addition,

Congressional committees have sought affirmative relief from federal courts via motions to

intervene, see, e.g., Trump v. Comm. on Oversight & Reform of U.S. House of Representatives,

380 F. Supp. 3d 76, 88 (D.D.C. 2019); Bean LLC v. John Doe Bank, 291 F. Supp. 3d 34, 39

(D.D.C. 2018), or, by initiating litigation to enforce Congressional subpoenas. See, e.g., Comm.

on Judiciary v. McGahn, 415 F. Supp. 3d 148, 153 (D.D.C. 2019); Comm. on Oversight & Gov’t

Reform v. Holder, 979 F. Supp. 2d 1, 2-3 (D.D.C. 2013); Comm. on Judiciary v. Miers, 558 F.

Supp. 2d 53, 55 (D.D.C. 2008). None of these decisions not to assert the privilege constitutes a

waiver of the protections afforded by the Speech or Debate Clause.

       Here, the Congressional Defendants have opted not to assert Speech or Debate immunity

as a legal defense to any part of Meadows’s complaint. That decision, however, does not

preclude any of the Congressional Defendants from invoking the Clause’s protections regarding

other aspects of the litigation, such as regarding any potential discovery requests from Meadows.

Nor does the fact that Congressional Defendants may have opted to invoke the Clause in other

litigation challenges to subpoenas issued by the Select Committee have any impact on the

decision here.

       Both of these positions are consistent with the D.C. Circuit’s holding in Senate

Permanent Subcommittee on Investigations v. Ferrer, which expressly recognized that, although

the Senate affirmatively sought judicial enforcement of a subpoena in that case, that action did

not preclude or in any way restrict other invocations of the Clause. See 856 F.3d 1080, 1085-87

(D.C. Cir. 2017) (rejecting argument that by “seeking to enlist the judiciary’s assistance in



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enforcing its subpoena,” the Senate subcommittee had “necessarily accepted an implicit

restriction on the Speech or Debate Clause”). Likewise, here, declining to assert Speech or

Debate as a defense does not “invite the courts’ interference with constitutionally protected

legislative activity.” Id. at 1087 (citing Helstoski, 442 U.S. at 490-91). Thus, proper assertions

of Speech or Debate immunity as to, for example, potential discovery requests related to

legislative activity remain available.

III.   Congressional Defendants Are Not Invoking Speech Or Debate Immunity In
       Response To Any Of Meadows’s Claims

       Finally, with respect to Meadows’s constitutional claims, we are not asserting a Speech

or Debate defense, but rather have noted the similar circumstances that the Supreme Court

confronted in Eastland v. U.S. Serviceman’s Fund, 421 U.S. 491 (1975). We rely on Eastland to

the extent that the decision reached the conclusion that judicial inquiry should be heavily

circumscribed when, as here, a First Amendment claim is raised against compliance with a valid

Congressional subpoena. See ECF No. 35 at 31. Our discussion of Eastland should not be read

as an invocation of Speech or Debate immunity as a defense to Meadows’s First Amendment

claim. We also briefed the merits of Meadows’s constitutional claims, see id. at 31-33, and those

arguments should be considered, if necessary, to defeat Meadows’ claims.

                                         CONCLUSION

       For the reasons set forth above, the Congressional Defendants Motion for Summary

Judgment should be granted.



                                                     Respectfully submitted,

                                                     /s/ Douglas N. Letter
                                                     DOUGLAS N. LETTER
                                                       General Counsel


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2022, I caused the foregoing document to be filed via the

CM/ECF system for the U.S. District Court for the District of Columbia, which I understand

caused a copy to be served on all registered parties.



                                              /s/ Douglas N. Letter
                                              Douglas N. Letter
